Case 1:21-cr-00599-RBW Document 47 Filed 11/16/22 Page1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)

UNITED STATES OF AMERICA )
)

v. ) Criminal Action No. 21-599 (RBW)

)

DONNIE DUANE WREN and THOMAS _ )
HARLEN SMITH, )
)

Defendants. )

)

ORDER

Upon consideration of the Defendants’ Wren and Smith’s Joint Motion to Continue Trial
Date and For Extension of Time to File Pre Trial Motions, ECF No. 45, it is hereby

ORDERED that, on November 28, 2022, at 11:00 a.m., the parties shall appear before
the Court for a status hearing via videoconference.! It is further

ORDERED that the November 18, 2022 deadline for the submission of pretrial motions
is VACATED pending the Court’s ruling on the defendants’ motion at the November 28, 2022

status hearing.

SO ORDERED this 16th day of November, 2022. he, - Ja W Z /

REGGIE B. WALTON
United States District Judge

 

 

1 Tf either party is not available to conduct the status hearing at this new time, counsel should contact the courtroom
deputy to arrange a mutually agreeable date and time for the hearing.
